 Case 4:15-cv-00221-A Document 104 Filed 08/10/16                    Page 1 of 16 PageID 1910

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                      IN THE UNITED STATES DISTRICT C01jfRT                            \OiW!k R'\ ;· · .,,.,, ..                              r
                           NORTHERN DISTRICT OF TEXAS                                                     .. ,;·;:: ;,:',;)' ,,. C\ \.'-
                               FORT WORTH DIVISION                                                   f         .                  -----1

ERIC C. DARDEN, AS                                §                                              I       AUG I 0 2016                         I
ADMINISTRATOR OF THE ESTATE OF                    §                                             L_ ...... ···-- I
JERMAINE DARDEN,                                  §                                    0 flU\, LS. lliSTRICH'f)l :iff
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                                                   §                                                 ........_______!);:;;,-;-;;:--·----
              Plaintiff,                          §                              .......
                                                                                           ~    ----
                                                  §
vs.                                               §    NO. 4:15-CV-221-A
                                                  §
THE CITY OF FORT WORTH, TEXAS,                    §
ET AL.,                                           §
                                                  §
              Defendants.                         §


                            MEMORANDUM OPINION AND ORDER

      Came on for consideration the motions of defendants, City of

Fort Worth ("City"), W.F. Snow ("Snow"), and J. Romero

("Romero"), for summary judgment. The court, having considered

the motions, the response of plaintiff, Eric C. Darden, as

Administrator of the Estate of Jermaine Darden, the record, the

summary judgment evidence, and applicable authorities, finds that

the motions should be granted.

                                                  I.

                                    Plaintiff's Claims

      The operative pleading is plaintiff's third amended

complaint filed May 11, 2016. Doc.' 66. Plaintiff's claims arise

out of the execution of a no knock search warrant on May 16,

2013, carried out by City's police officers, including Snow and



      'The "Doc." reference is to the number of the item on the docket in this action.
 Case 4:15-cv-00221-A Document 104 Filed 08/10/16   Page 2 of 16 PageID 1911


Romero. At some time during the execution of the warrant,

Jermaine Darden ("Darden") died. Plaintiff asserts claims against

Snow and Romero based on the alleged use by them of excessive

force. Plaintiff asserts a claim against City based on failure to

train its police officers and a negligence claim based on the

contention that Snow's use of a taser caused Darden's death.

                                    II.

                         Grounds of the Motions

     Defendants Snow and Romero maintain that they are each

entitled to qualified immunity. Further, they did not use

excessive force when restraining Darden. Defendant City urges

that plaintiff cannot demonstrate that City had a policy,

practice or custom that caused Darden a deprivation of federal

constitutional rights; the City's training policy is adequate;

the City's police officers are adequately supervised; and, City

is entitled to sovereign immunity as to plaintiff's state law

claims.

                                   III.

                      Applicable Legal Principles

A.   Summary Judgment

     Rule 56(a) of the Federal Rules of Civil Procedure provides

that the court shall grant summary judgment on a claim or defense

if there is no genuine dispute as to any material fact and the


                                     2
 Case 4:15-cv-00221-A Document 104 Filed 08/10/16   Page 3 of 16 PageID 1912


movant is entitled to judgment as a matter of law.           Fed. R. Civ.

P. 56(a); Anderson v. Liberty Lobby, Inc., 477 u.s. 242, 247

(1986).     The movant bears the initial burden of pointing out to

the court that there is no genuine dispute as to any material

fact.     Celotex Corp. v. Catrett, 477 U.S. 317, 323, 325 (1986).

The movant can discharge this burden by pointing out the absence

of evidence supporting one or more essential elements of the

nonmoving party's claim,     "since a complete failure of proof

concerning an essential element of the nonmoving party's case

necessarily renders all other facts immaterial."           Id. at 323.

Once the movant has carried its burden under Rule 56(a), the

nonmoving party must identify evidence in the record that creates

a genuine dispute as to each of the challenged elements of its

case.     Id. at 324; see also Fed. R. Civ. P. 56 (c)      ("A party

asserting that a fact .         is genuinely disputed must support

the assertion by           citing to particular parts of materials in

the record          .").   If the evidence identified could not lead

a rational trier of fact to find in favor of the nonmoving party

as to each essential element of the nonmoving party's case, there

is no genuine dispute for trial and summary judgment is

appropriate.     Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,

475 U.S. 574, 587, 597 (1986).       In Mississippi Prot. & Advocacy

sys., Inc. v. Cotten, the Fifth circuit explained:


                                     3
 Case 4:15-cv-00221-A Document 104 Filed 08/10/16                    Page 4 of 16 PageID 1913


         Where the record, including affidavits,
         interrogatories, admissions, and depositions could not,
         as a whole, lead a rational trier of fact to find for
         the nonmoving party, there is no issue for trial.

929 F.2d 1054, 1058 (5th Cir. 1991).

         The standard for granting a motion for summary judgment is

the same as the standard for rendering judgment as a matter of

law. 2       Celotex Corp., 477 U.S. at 323.                   If the record taken as a

whole could not lead a rational trier of fact to find for the

non-moving party, there is no genuine issue for trial.

Matsushita, 475 U.S. at 597; see also Mississippi Prot. &

Advocacy Sys., 929 F.2d at 1058.

B.       Qualified Immunity

         Qualified immunity insulates a government official from

civil damages liability when the official's actions do not

"violate clearly established statutory or constitutional rights

of which a reasonable person would have known."                               Harlow v.

Fitzgerald, 457 U.S. 800, 818                   (1982).       For a right to be "clearly

established," the right's contours must be "sufficiently clear

that a reasonable official would understand that what he is doing

violates that right."               Anderson v. Creighton, 483 U.S. 635, 640

(1987).        Individual liability thus turns on the objective legal



         2
          ln Boeing Co. v. Shipman, 411 F.2d 365,374-75 (5th Cir. 1969) (en bane), the Fifth Circuit
explained the standard to be applied in determining whether the court should enter judgment on motions
for directed verdict or for judgment notwithstanding the verdict.

                                                   4
 Case 4:15-cv-00221-A Document 104 Filed 08/10/16   Page 5 of 16 PageID 1914


reasonableness of the defendant's actions assessed in light of

clearly established law at the time.        Hunter v. Bryant, 502 U.S.

224, 228   (1991); Anderson, 483 U.S. at 639-40.         In Harlow, the

court explained that a key question is "whether that law was

clearly established at the time an action occurred" because "[i]f

the law at that time was not clearly established, an official

could not reasonably be expected to anticipate subsequent legal

developments, nor could he fairly be said to 'know' that the law

forbade conduct not previously identified as unlawful."            457 u.s.

at 818.    In assessing whether the law was clearly established at

the time, the court is to consider all relevant legal authority,

whether cited by the parties or not.        Elder v. Holloway, 510 U.S.

510, 512   (1994).   If public officials of reasonable competence

could differ on the lawfulness of defendant's actions, the

defendant is entitled to qualified immunity. Mullenix v. Luna,

136 S. Ct. 305, 308    (2015); Malley v. Briggs, 475 U.S. 335, 341

(1986); Fraire v. City of Arlington, 957 F.2d 1268, 1273            (5th

Cir. 1992).    "[A]n allegation of malice is not sufficient to

defeat immunity if the defendant acted in an objectively

reasonable manner.•     Malley, 475 U.S. at 341.

     In analyzing whether an individual defendant is entitled to

qualified immunity, the court considers whether plaintiff has

alleged any violation of a clearly established right, and, if so,


                                     5
 Case 4:15-cv-00221-A Document 104 Filed 08/10/16   Page 6 of 16 PageID 1915


whether the individual defendant's conduct was objectively

reasonable.     Siegert v. Gilley, 500 U.S. 226, 231 (1991); Duckett

v. City of Cedar Park, 950 F.2d 272, 276-80 (5th Cir. 1992).             In

so doing, the court should not assume that plaintiff has stated a

claim, i.e., asserted a violation of a constitutional right.

Siegert, 500 U.S. at 232.      Rather, the court must be certain

that,    if the facts alleged by plaintiff are true, a violation has

clearly occurred.     Connelly v. Comptroller, 876 F.2d 1209, 1212

(5th Cir. 1989).     A mistake in judgment does not cause an officer

to lose his qualified immunity defense.          In Hunter, the Supreme

Court explained:

        The qualified immunity standard "gives ample room for
        mistaken judgments" by protecting "all but the plainly
        incompetent or those who knowingly violate the law."
        Malley, [475 U.S.] at 343.        This accommodation for
        reasonable error exists because "officials should not err
        always on the side of caution" because they fear being sued.


502 u.s. at 229.

        When a defendant relies on qualified immunity, the burden is

on the plaintiff to negate the defense. Kovacic v. Villarreal,

628 F. 3d 209, 211 (5'h Cir. 2010); Foster v. City of Lake

Jackson, 28 F. 3d 425, 428 (S'h Cir. 1994).

C.      Municipal Liability

        The law is clearly established that the doctrine of

respondent superior does not apply to       §   1983 actions.    Monell v.


                                     6
 Case 4:15-cv-00221-A Document 104 Filed 08/10/16   Page 7 of 16 PageID 1916


New York City Dep't of Soc. Servs., 436 U.S. 658, 691 (1978);

Williams v. Luna, 909 F.2d 121, 123 (5th Cir. 1990).            Rather, the

misconduct of a subordinate must be affirmatively linked to the

action or inaction of the supervisor.        Southard v. Texas Bd. of

Crim. Justice, 114 F. 3d 539, 550 (5th Cir. 1997).          A supervisor

may be liable under    §   1983 if he, by action or inaction,

demonstrates deliberate indifference to a plaintiff's

constitutionally protected rights.        Id. at 551.     "• [D] eliberate

indifference' is a stringent standard of fault, requiring proof

that a municipal actor disregarded a known or obvious consequence

of his action."    Board of Comm'rs of Bryan Cty. v. Brown, 520

U.S. 397, 410 (1997).       Neither a supervisory official nor a

governmental entity can be held liable for failing to adopt

policies to prevent constitutional violations.           See, e.g., Vela

v. White, 703 F.2d 147, 153 (5th Cir. 1983); Reimer v. Smith, 663

F.2d 1316, 1323    (5th Cir. 1981); Wanger v. Bonner, 621 F.2d 675,

680 (5th Cir. 1980).       Moreover, a plaintiff must allege more than

an isolated incident of purported harm to establish a claim

against such person or entity.       Fraire, 957 F.2d at 1278;

McConney v. City of Houston, 863 F.2d 1180, 1184 (5th Cir. 1989);

Languirand v. Hayden, 717 F.2d 220, 227-28 (5th Cir. 1983).

Without a pattern or practice of recurring constitutional

violations, neither negligence nor gross negligence suffices as a

                                     7
    Case 4:15-cv-00221-A Document 104 Filed 08/10/16   Page 8 of 16 PageID 1917


basis for liability.        Stokes v. Bullins, 844 F.2d 269, 274             (5th

Cir. 1988).       There must be a link between the policy and the

particular constitutional violation alleged.             City of Oklahoma

City v. Tuttle, 471 U.S. 808, 823           (1985).

        A governmental entity can be subjected to monetary damages

or injunctive relief only if one of its official policies caused

a person to be deprived of a federally protected right.               Monell,

436 U.S. at 694. It cannot be held liable under a theory of

respondeat superior or vicarious liability.             Id.   Instead,

liability may be imposed against a local government entity under

§    1983 only "if the governmental body itself subjects a person to

a deprivation of rights or causes a person to be subjected to

such deprivation."        Connick v. Thompson, 563 U.S. 51, 131 S. Ct.

1350, 1359 (2011)       (quoting Monell, 436 U.S. at 692)        (internal

quotation marks omitted) .         To hold an entity liable under        §   1983

thus requires plaintiff to "initially allege that an official

policy or custom was a cause in fact of the deprivation of rights

inflicted." Spiller v. City of Texas City, Police Dept., 130 F.3d

162, 167     (5th Cir. 1997)     (internal quotation marks and citation

omitted). Therefore, liability against local government

defendants pursuant to       §   1983 requires proof of a policymaker, an

official policy, and a violation of constitutional rights whose




                                        8
 Case 4:15-cv-00221-A Document 104 Filed 08/10/16   Page 9 of 16 PageID 1918


"moving force" is the policy or custom.         Piotrowski v. City of

Houston, 237 F.3d 567, 578      (5th cir. 2001).

     The Fifth Circuit has been explicit in its definition of an

"official policy" that can lead to liability on the part of a

governmental entity, giving the following explanation in an

opinion issued en bane in response to a motion for rehearing in

Bennett v. City of Slidell:

     1. A policy statement, ordinance, regulation, or
     decision that is officially adopted and promulgated by
     the municipality's lawmaking officers or by an official
     to whom the lawmakers have delegated policy-making
     authority; or

     2. A persistent, widespread practice of city officials
     or employees, which, although not authorized by
     officially adopted and promulgated policy, is so common
     and well settled as to constitute a custom that fairly
     represents municipal policy. Actual or constructive
     knowledge of such custom must be attributable to the
     governing body of the municipality or to an official to
     whom that body had delegated policy-making authority.

     Actions of officers or employees of a municipality do
     not render the municipality liable under § 1983 unless
     they execute official policy as above defined.

735 F.2d 861, 862    (5th Cir. 1984)     (per curiam).

D.   Excessive Force

     The elements of an excessive force claims are (1) an injury,

(2) that resulted directly and only from a use of force that was

clearly excessive, and (3) the excessiveness was clearly

unreasonable. Freeman v. Gore, 483 F. 3d 404, 416 (5'h Cir. 2007).


                                     9
 Case 4:15-cv-00221-A Document 104 Filed 08/10/16                      Page 10 of 16 PageID 1919


A use of deadly force is presumptively reasonable when an officer

has reason to believe that the suspect poses a threat of serious

harm to the officer or to others. Mace v. City of Palestine, 333

F.3d 621,       624    (5th Cir. 2003). The reasonableness is to be

determined from the perspective of the officer on the scene and

not with "the 20-20 vision of hindsight." Id. at 625                                   (quoting

Graham v. Connor, 490 U.S. 386, 396                        (1989)). Further, that the

officer himself may have created the situation does not change

the analysis. In other words,                    that the officer could have handled

the situation better does not affect his entitlement to qualified

immunity. Young v. City of Killeen, 775 F.2d 1349, 1352-53                                       (5th

Cir. 1985). See also City & Cty. Of San Francisco v. Sheehan, 135

s. Ct. 1765, 1777 (2015) (failure to follow training does not

itself negate entitlement to qualified immunity) .

                                                   IV.

                                              Analysis

A.      The Summary Judgment Evidence

        Plaintiff filed objections' to the summary judgment evidence

of each of the defendants. Plaintiff appears to object primarily

to the legal conclusions of certain affiants. As is the court's




         'Plaintiffs amended objections and appendix in support are subject to being stricken as the
appendix is not properly bound, does not contain index tabs, and is not highlighted as required by the
court's August 31, 2015, order.

                                                   10
Case 4:15-cv-00221-A Document 104 Filed 08/10/16   Page 11 of 16 PageID 1920


custom, the court is not striking any evidence, but rather giving

the summary judgment evidence whatever weight it may deserve.

B.   Undisputed Facts

     During the last week of March 2013, City, through the

narcotics unit of its police department, received information

that cocaine was being sold at 3232 Thannisch Avenue, Fort Worth.

Officers conducted surveillance and utilized a confidential

informant who made several purchases at the residence. The

sellers included a black male in his early 30's, 6', 300 pounds,

heavy set, now known to be Darden. On May 16, 2013, the

confidential informant made a purchase from Darden that field-

tested positive for cocaine. City sought and obtained a search

warrant for the residence. The magistrate who issued the warrant

found sufficient reason to believe that to knock and announce

their purpose by the officers executing the warrant would be

futile, dangerous, and otherwise inhibit effective investigation.

     On May 16, 2013, City utilized its zero tolerance unit to

make a dynamic entry into the residence. Among other items,

officers seized 2.4 grams of cocaine, 1.8 grams of heroin, and

3.125 ounces of marijuana. Orlando Cook was arrested on the scene

and later pleaded guilty to possession of a controlled substance.

Officers believed that some of the drugs belonged to Darden.



                                    11
Case 4:15-cv-00221-A Document 104 Filed 08/10/16   Page 12 of 16 PageID 1921


     Officers who executed the warrant were wearing clearly

marked police uniforms. Two of the officers had helmet cameras

that recorded the execution of the warrant. The videos reflect

that upon entry into the front of the house, officers first

encountered Darden, who was on his stomach on a couch. Officers

identified themselves as police and ordered all occupants of the

house to get on the ground, where they would pose less danger to

the officers. Darden did not get on the ground. Snow tried to

pull Darden to the ground. When Snow pulled on Darden's shirt, it

ripped. Snow struggled with Darden for approximately 45 seconds

and then fired his taser into Darden's back. Darden briefly went

down, but raised up again and Snow fired his taser a second time,

approximately 16 seconds after the first shot. After firing the

taser a second time, Snow stood back, holding the taser in case

it was needed again. Other officers, including Romero, tried to

handcuff Darden but without success. Approximately one minute and

54 seconds after entering the house and encountering Darden,

officers were able to get handcuffs on him. They sat him up and

called for medical personnel to assess him. At some point during

the execution of the warrant, Darden died. From the video, it

appears that he was unresponsive at the time officers moved him

to a seated position after handcuffing him. His unresponsive




                                    12
Case 4:15-cv-00221-A Document 104 Filed 08/10/16   Page 13 of 16 PageID 1922


state was not recognized and emergency resuscitative efforts were

not started in time to have any effect.

     At the time of execution of the warrant, Romero had been a

City police officer for seven years and Snow had been a City

police officer for just over nine years.

     The cause of Darden's death was sudden cardiac death

associated with hypertensive atherosclerotic cardiovascular

disease and application of restraint and secondary causes were

obesity', hepatic steatosis, and chronic thyroiditis. Darden had

multiple risk factors for sudden cardiac death and the severity

of his cardiac disease alone made him susceptible to sudden

cardiac death at any time, with or without physical exertion.

C.   Snow and Romero

     Snow and Romero allege that they are entitled to qualified

immunity; thus, the burden is on plaintiff to show that their

conduct violated a clearly established constitutional right of

Darden. In this, plaintiff cannot succeed. He cannot show that

either Snow or Romero was plainly incompetent or knowingly

violated the law. Rather, the summary judgment evidence

establishes that Snow and Romero participated in the execution of

a search warrant, which entitled them to detain the occupants of




     'Darden weighed 340 pounds.

                                    13
Case 4:15-cv-00221-A Document 104 Filed 08/10/16   Page 14 of 16 PageID 1923


the residence. Muehler v. Mena, 544      u.s.   93, 98-99   (2005). Use of

handcuffs to effectuate the detention was reasonable. Id. Telling

the occupants of the house to get on the ground was reasonable.

Carroll v. Ellington, 800 F. 3d 154, 174-75 (5th Cir. 2015).

     The video makes clear that Darden did not get on the ground

as ordered by the officers and that the taser was employed to

assist them in getting Darden to the ground. The taser was

employed only twice and it is clear that Darden was not subdued

by the first application. Officers struggled to get Darden

handcuffed and as soon as they did so, the application of any

force stopped. This is consistent with the cases plaintiff cites.

Doc. 95 at 9-10. See, e.g., Clark v. Massengill, 641 F. App'x

418, 420   (5th cir. 2016) (once a suspect is handcuffed and

subdued, and is no longer resisting, subsequent use of force is

excessive). The struggle lasted less than two minutes and the

officers' conduct is not to be judged by 20/20 hindsight, but

rather with allowance for the need to make split-second

judgments. Whether he was resisting arrest or struggling to

breathe, Darden did not allow officers to handcuff him.

     Given the state of Darden's health, plaintiff's argument is

essentially that defendants should not have employed regular

police procedures in effectuating his detention. However, he does

not cite to any clearly established law to support this position.

                                    14
Case 4:15-cv-00221-A Document 104 Filed 08/10/16   Page 15 of 16 PageID 1924


      Viewing the actions of Snow and Romero individually, as the

law requires, Meadours v. Ermel, 483 F.3d 417, 422          (5th Cir.

2007), each is entitled to qualified immunity.

      The court further notes that plaintiff could not establish

an excessive force claim because he cannot show that Darden's

death •resulted directly and only from the use of force that was

clearly excessive to the need." Doc. 95 at 3; Knight v. Caldwell,

970 F.2d 1430, 1432 n.3     (5th Cir. 1992). As plaintiff's own

expert says, the application of restraint was a contributing

causal factor of Darden's death. Doc. 97 at 42.

D.    City

       Inasmuch as its officers did not use excessive force,            i.e.,

did not commit a constitutional violation, City cannot be liable

for any constitutional violation. See City of Los Angeles v.

Heller, 475 U.S. 796, 799 (1986). As the Supreme Court has

stated:

      If a person has suffered no constitutional injury at
      the hands of the individual police officer, the fact
      that the departmental regulations might have authorized
      the use of constitutionally excessive force is quite
      beside the point.


     , 475 U.S. at 799.

      Plaintiff does not address City's arguments regarding his

inability to succeed on his state law claims, apparently


                                    15
Case 4:15-cv-00221-A Document 104 Filed 08/10/16   Page 16 of 16 PageID 1925


conceding that City is entitled to sovereign immunity and there

is no waiver of immunity for intentional torts. See Tex. civ.

Prac. & Rem. Code§ 101.057(2); Goodman v. Harris Cnty., 571 F.3d

388, 394 (5th cir. 2009); Texas Dep't of Pub. Safety v. Petta, 44

S.W.3d 575, 580     (Tex. 2001); Univ. of Tex. Med. Branch v. York,

871 S.W.2d 175, 177 (Tex.1994); Duhart v. State, 610 S.W.2d 740,

742   (Tex.1980).

                                    v.

                                  Order

      The court ORDERS that defendants' motions for summary

judgment be, and are hereby, granted; that plaintiff take nothing

on his claims against defendants; and, that such claims be, and

are hereby, dismissed.

      SIGNED August 10,




                                    16
